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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION


JOHN DOE, et al.,                               )
                                                )
           Plaintiffs,                          )
                                                )
      v.                                        )           Case No. 4:16-CV-546 JAR
                                                )
FORT ZUMWALT R-II SCHOOL                        )
DISTRICT, et al.,                               )
                                                )
           Defendants.                          )

                         ORDER AND JUDGMENT OF DEFAULT

       This matter is before the Court on Plaintiff’s Motion for Default Judgment Against

Defendant Matthew M. Hansen. (Doc. No. 14) Plaintiffs filed their complaint on April 22, 2016,

and served the complaint and summons on Defendant by special process server on May 2, 2016.

Defendant’s answer was due no later than May 23, 2016, but Defendant has failed to file an

answer or otherwise respond to the complaint. Pursuant to Plaintiffs’ request, the Clerk of the

Court entered the default of Defendant by Order dated May 31, 2016. Plaintiffs now move for

default judgment against Defendant as to liability only. The motion will be granted.

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Default Judgment Against

Defendant Matthew M. Hansen [14] is GRANTED as to liability only.

Dated this 31st day of May, 2016.



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                                             JOHN A. ROSS
                                             UNITED STATES DISTRICT JUDGE
